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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU Investments LLC                           §
 doing business as                              §
 Brazos Licensing and Development,              §
                                                §
                    Plaintiffs,                 §       Civil Action No. 6:20-cv-00952-ADA
                                                §       Civil Action No. 6:20-cv-00953-ADA
 v.                                             §       Civil Action No. 6:20-cv-00956-ADA
                                                §       Civil Action No. 6:20-cv-00957-ADA
 Oneplus Technology (Shenzhen) Co., Ltd.,       §       Civil Action No. 6:20-cv-00958-ADA
                                                §
                    Defendant.                  §                Jury Trial Demanded
                                                §
                                                §

DECLARATION OF ELIZABETH M. CHIAVIELLO IN SUPPORT OF DEFENDANT’S
MOTION TO DISMISS FOR INSUFFICIENT SERVICE OF PROCESS AND LACK OF
                     PERSONAL JURISDICTION

       I, Elizabeth M. Chiaviello, declare:

       1.      I am an attorney duly admitted to practice law in Texas. I am an attorney in the

law firm of Morgan, Lewis & Bockius LLP, counsel of record for Defendant OnePlus

Technology (Shenzhen) Co., Ltd. (“Defendant”) in the above-captioned action. I make this

declaration based on my own personal knowledge and, if called to testify as to the truth of the
matters declared herein, I could and would testify competently thereto.

       2.      Attached hereto as Exhibit 1 is a true and correct excerpt of

https://www.hcch.net/en/instruments/conventions/status-table/print/?cid=17, a website provided

by the Hague Conference on private international law listing contracting parties to the Hague

Convention.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of

https://www.hcch.net/en/states/authorities/details3/?aid=243, a website provided by the Hague

Conference on private international law detailing the Central Authority and practical information

as to China’s accession to Hague Convention.
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       4.      Attached hereto as Exhibit 3 is a true and correct copy of

https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-

Information/China.html, a website provided by the U.S. State Department titled "China Judicial

Assistance Information."

       5.      Attached hereto as Exhibit 4 is a true and correct copy of

https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-

Information/RussianFederation.html, a website provided by the U.S. State Department titled

"Russia Judicial Assistance Information."

       6.      Attached hereto as Exhibit 5 is a chart summarizing the 192 court cases filed by

WSOU Investments, LLC, including the Case Name, Date Filed, Docket No., and whether a

Motion for Alternative Service has been filed.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and understanding.

       Executed this 26th day of February, 2021.


Dated: February 26, 2021                             RESPECTFULLY SUBMITTED,

                                                     MORGAN, LEWIS & BOCKIUS LLP



                                                     By:        0
                                                           Elizabeth M. Chiaviello
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                                                     Attorneys for Defendant




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